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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

In re:                                                      Case No. 23-41386-R
         SIDHARTHA MUKHERJEE
         SUNITA MUKHERJEE
                 Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Carey D. Ebert, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 07/31/2023.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 10/31/2023.

         6) Number of months from filing or conversion to last payment: 3.

         7) Number of months case was pending: 10.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $249,147.58.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor             $9,000.00
       Less amount refunded to debtor                       $8,280.00

NET RECEIPTS:                                                                                   $720.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $0.00
    Court Costs                                                          $0.00
    Trustee Expenses & Compensation                                    $720.00
    Other                                                                $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $720.00

Attorney fees paid and disclosed by debtor:              $1,137.00


Scheduled Creditors:
Creditor                                     Claim        Claim          Claim        Principal      Int.
Name                               Class   Scheduled     Asserted       Allowed         Paid         Paid
ALLY CAPITAL                   Secured             NA     22,844.57      22,844.57            0.00       0.00
ALLY FINANCIAL                 Unsecured     22,844.00           NA             NA            0.00       0.00
AMEX                           Unsecured      9,766.00           NA             NA            0.00       0.00
AMEX                           Unsecured      2,578.00           NA             NA            0.00       0.00
BANK OF AMERICA                Unsecured      9,321.00           NA             NA            0.00       0.00
BANK OF AMERICA NA             Unsecured      2,970.00      2,970.42       2,970.42           0.00       0.00
CEASONS HOLDINGS LLC           Secured             NA            NA             NA            0.00       0.00
CEASONS HOLDINGS LLC           Secured      300,000.00   315,210.00     315,210.00            0.00       0.00
COLLIN COUNTY TAX ASSESSOR/COL Secured       12,135.42      7,717.06       7,717.06           0.00       0.00
DIPAKKUMAR P PRAVIN            Unsecured           NA     91,250.00      91,250.00            0.00       0.00
DISCOVER BANK                  Unsecured      1,121.00      1,227.35       1,227.35           0.00       0.00
DISCOVER BANK                  Unsecured      8,729.00      8,922.49       8,922.49           0.00       0.00
INTERNAL REVENUE SERVICE       Priority      16,000.00           NA             NA            0.00       0.00
JPRS LLC                       Unsecured           NA    226,800.00     226,800.00            0.00       0.00
JUJAAR SINGH                   Unsecured           NA    715,000.00     715,000.00            0.00       0.00
MERCEDEZ-BENZ FINANCIAL SERVIC Secured             NA            NA             NA            0.00       0.00
MERCEDEZ-BENZ FINANCIAL SERVIC Secured       44,760.00    41,844.49      41,844.49            0.00       0.00
PNC BANK                       Unsecured     19,145.00           NA             NA            0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured      20,131.00    20,131.99      20,131.99            0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured       4,475.00      4,475.92       4,475.92           0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured       3,838.00      3,360.71       3,360.71           0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured       8,397.00      8,397.69       8,397.69           0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured      27,784.00    27,784.44      27,784.44            0.00       0.00
PNC BANK NATIONAL ASSOCIATION Unsecured      32,678.00    32,678.41      32,678.41            0.00       0.00
PNCBANK                        Unsecured     26,991.00           NA             NA            0.00       0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured       3,895.00      4,009.10       4,009.10           0.00       0.00
R&R SKY TRADERS LLC            Unsecured           NA     95,250.00      95,250.00            0.00       0.00
TERRY PARVAGA                  Unsecured           NA    405,450.00     405,450.00            0.00       0.00
TOYOTA FINANCIAL SERVICES      Secured       37,920.00           NA             NA            0.00       0.00
TRUIST BANK                    Unsecured           NA         399.38         399.38           0.00       0.00
TRUIST BANK DDA/RECOVERY       Unsecured           NA           0.55           0.55           0.00       0.00



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Scheduled Creditors:
Creditor                                      Claim         Claim         Claim        Principal       Int.
Name                               Class    Scheduled      Asserted      Allowed         Paid          Paid
TRUIST BANK, SUPPORT SERVICES   Unsecured         207.00        195.70        195.70           0.00        0.00
TRUIST SUPPORT SERVICES         Unsecured      1,127.00       2,346.86      2,346.86           0.00        0.00
TRUIST SUPPORT SERVICES         Unsecured      2,974.00       2,611.84      2,611.84           0.00        0.00
TRUIST SUPPORT SERVICES         Unsecured            NA         399.38        399.38           0.00        0.00
US SMALL BUSINESS ADMINISTRATIO Unsecured    186,500.00            NA            NA            0.00        0.00
US SMALL BUSINESS ADMINISTRATIO Unsecured    243,426.44            NA            NA            0.00        0.00


Summary of Disbursements to Creditors:
                                                             Claim           Principal                Interest
                                                           Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                $315,210.00                 $0.00                $0.00
      Mortgage Arrearage                                    $0.00                 $0.00                $0.00
      Debt Secured by Vehicle                          $64,689.06                 $0.00                $0.00
      All Other Secured                                 $7,717.06                 $0.00                $0.00
TOTAL SECURED:                                        $387,616.12                 $0.00                $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                            $0.00                $0.00                $0.00
       Domestic Support Ongoing                              $0.00                $0.00                $0.00
       All Other Priority                                    $0.00                $0.00                $0.00
TOTAL PRIORITY:                                              $0.00                $0.00                $0.00

GENERAL UNSECURED PAYMENTS:                        $1,653,662.23                  $0.00                $0.00


Disbursements:

        Expenses of Administration                               $720.00
        Disbursements to Creditors                                 $0.00

TOTAL DISBURSEMENTS :                                                                            $720.00




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       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 06/04/2024                             By: /s/ Carey D. Ebert
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                       CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing Chapter 13 Standing Trustee’s Final Report
and Account has been served upon the following parties in interest by mailing a copy of same to them via
first class mail on the date set forth below or electronically via ECF.

SIDHARTHA MUKHERJEE
SUNITA MUKHERJEE
3905 KITE MEADOW DRIVE
PLANO, TX 75074


Dated: June 04, 2024                       /s/ Carey D. Ebert
                                           Office of the Standing Chapter 13 Trustee




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